          Case 22-08415                     Doc 11            Filed 07/30/22 Entered 07/30/22 23:10:05                               Desc Imaged
                                                             Certificate of Notice Page 1 of 5
Information to identify the case:

Debtor 1:
                      Nathan Jon Lewicki                                         Social Security number or ITIN:   xxx−xx−0293
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Northern District of Illinois             Date case filed for chapter:        7     7/27/22

Case number:22−08415
Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                         10/20


For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.
The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Nathan Jon Lewicki

2.        All other names used in the
          last 8 years

3.      Address                                  4610 North Clark Street
                                                 #1055
                                                 Chicago, IL 60640

4.      Debtor's attorney                                                                             Contact phone _____________
                                                 Pro Se
        Name and address                                                                              Email:

5.      Bankruptcy trustee                       Gregg Szilagyi                                       Contact phone 312−663−0801
                                                 209 S LASALLE ST
        Name and address                         Suite 950                                            Email: gs@tailserv.com
                                                 Chicago, IL 60604
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
        Case 22-08415                       Doc 11            Filed 07/30/22 Entered 07/30/22 23:10:05                                               Desc Imaged
                                                             Certificate of Notice Page 2 of 5
Debtor Nathan Jon Lewicki                                                                                                           Case number 22−08415


6. Bankruptcy clerk's office                       Eastern Division                                            Hours open:
                                                   219 S Dearborn                                              8:30 a.m. until 4:30 p.m. except
    Documents in this case may be filed at         7th Floor                                                   Saturdays, Sundays and legal holidays.
    this address. You may inspect all              Chicago, IL 60604
    records filed in this case at this office or
    online at https://pacer.uscourts.gov.                                                                      Contact phone 1−866−222−8029

                                                                                                               Date: 7/28/22

7. Meeting of creditors                            August 24, 2022 at 12:30 PM                                 Location:

    Debtors must attend the meeting to be          The meeting may be continued or adjourned                   Appear by Video. See details at www.,
    questioned under oath. In a joint case,        to a later date. If so, the date will be on the             justice.gov/ust/file/ILN.pdf/download.
    both spouses must attend. Creditors
    may attend, but are not required to do         court docket.
    so.
                                                   Debtors must bring a picture ID and proof
                                                   of their Social Security Number.

8. Presumption of abuse                            The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                       File by the deadline to object to discharge                 Filing deadline: 10/24/22
                                                   or to challenge whether certain debts are
    The bankruptcy clerk's office must             dischargeable:
    receive these documents and any
    required filing fee by the following
    deadlines.
                                                   You must file a complaint:
                                                   • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                                     subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                                   • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                   You must file a motion:
                                                   • if you assert that the discharge should be denied under § 727(a)(8) or (9).


                                                   Deadline to object to exemptions:                           Filing deadline: 30 days after the conclusion
                                                   The law permits debtors to keep certain property as         of the meeting of creditors
                                                   exempt. If you believe that the law does not authorize
                                                   an exemption claimed, you may file an objection.


10. Proof of claim                             No property appears to be available to pay creditors. Therefore, please do not file a proof
                                               of claim now. If it later appears that assets are available to pay creditors, the clerk will
    Please do not file a proof of claim unless send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.             deadline.

11. Creditors with a foreign                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                        asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                                   United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                                   be sold and distributed to creditors. Debtors must file a list of property claimed as exempt.
                                                   You may inspect that list at the bankruptcy clerk's office or online at
                                                   https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                   that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                   receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                   page 2
           Case 22-08415                Doc 11          Filed 07/30/22 Entered 07/30/22 23:10:05                                     Desc Imaged
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                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 22-08415-ABG
Nathan Jon Lewicki                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jul 28, 2022                                               Form ID: 309A                                                             Total Noticed: 42
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 30, 2022:
Recip ID                   Recipient Name and Address
db                     +   Nathan Jon Lewicki, 4610 North Clark Street, #1055, Chicago, IL 60640-4620
29856570               +   Assurant, 23852 Network Place, Chicago, IL 60673-1238
29856571              #+   Check N Go, 6311 South Western Avenue, Chicago, IL 60636-2407
29856578               +   Copenhagen Enterprises, 26 Oak Street, Minneapolis, MN 55455
29856651               +   Cottrell Green, 2287 Waters Drive, Mendota Heights, MN 55120-1363
29856641               +   Navient, 5125 Adanson St Ste 100, Orlando, FL 32804-1329
29856643               +   North Central University, 910 Elliot Ave., Minneapolis, MN 55404-1391
29856658               +   Safeguard Storage Uptown, 5026 North Sheridan Road, Chicago, IL 60640-3118
29856654               +   Sanford Kahn LLP, 180 North LaSalle Street, Chicago, IL 60601-2612
29856647               +   Tricap Residential, as Agent for Ravenswood Gardens, 171 North Aberdeen Street, Chicago, IL 60607-1670
29856650               +   Trueaccord, 16011 College Boulevard, Lenexa, KS 66219-9877

TOTAL: 11

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QGSZILAGYI.COM
                                                                                        Jul 29 2022 02:18:00      Gregg Szilagyi, 209 S LASALLE ST, Suite 950,
                                                                                                                  Chicago, IL 60604-1459
29856565               + Email/Text: bncnotifications@pheaa.org
                                                                                        Jul 28 2022 22:23:00      AES/CSLT, 1200 N 7th St., Harrisburg, PA
                                                                                                                  17102-1419
29856566               + Email/Text: bncnotifications@pheaa.org
                                                                                        Jul 28 2022 22:23:00      AES/DEUTSCHE, Po Box 61047, Harrisburg, PA
                                                                                                                  17106-1047
29856567               + Email/Text: backoffice@affirm.com
                                                                                        Jul 28 2022 22:23:00      Affirm, 30 Isabella Street, Pittsburgh, PA
                                                                                                                  15212-5862
29856568               + Email/Text: bankruptcynotices@afterpay.com
                                                                                        Jul 28 2022 22:23:00      Afterpay, 760 Market Street, San Francisco, CA
                                                                                                                  94102-2402
29856569                   Email/Text: bankruptcy@alliantcreditunion.com
                                                                                        Jul 28 2022 22:23:00      Alliant Credit Union, Po Box 1666, Des Plaines,
                                                                                                                  IL 60017-1666
29856576                   Email/Text: BNCNotice-Forward@cityofchicago.org
                                                                                        Jul 28 2022 22:22:00      City of Chicago, Office of the City Clerk, 121 N.
                                                                                                                  LaSalle St., Room 107, Chicago IL 60602
29856572               + Email/Text: enotifications@santanderconsumerusa.com
                                                                                        Jul 28 2022 22:23:00      Chrysler Capital, Po Box 961275, Fort Worth, TX
                                                                                                                  76161-0275
29856573               + EDI: CITICORP.COM
                                                                                        Jul 29 2022 02:18:00      Citibank, 388 Greenwich Street, New York, NY
                                                                                                                  10013-2362
29856577               + Email/Text: comedbankruptcygroup@exeloncorp.com
                                                                                        Jul 28 2022 22:23:00      Commonwealth Edison Co, 3 Lincoln Center,
                                                                                                                  Attn: Bankruptcy Section, Oak Brook Terrace IL
                                                                                                                  60181-4204
29856653               + EDI: CONVERGENT.COM
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District/off: 0752-1                                              User: admin                                                             Page 2 of 3
Date Rcvd: Jul 28, 2022                                           Form ID: 309A                                                         Total Noticed: 42
                                                                                   Jul 29 2022 02:18:00     Convergent, 800 SW 39th St, Suite 100, Renton,
                                                                                                            WA 98057-4927
29856579              + Email/PDF: creditonebknotifications@resurgent.com
                                                                                   Jul 28 2022 22:22:24     Credit One Bank, Po Box 60500, City of Industry,
                                                                                                            CA 91716-0500
29856580                 EDI: DISCOVER.COM
                                                                                   Jul 29 2022 02:18:00     Discover Bank, Po Box 15316, Wilmington, DE
                                                                                                            19850
29856640                 EDI: IRS.COM
                                                                                   Jul 29 2022 02:18:00     Department of the Treasury, Internal Revenue
                                                                                                            Service, P.O. Box 7346, Philadelphia PA
                                                                                                            19101-7346
29856563              + Email/Text: bankruptcy@dcu.org
                                                                                   Jul 28 2022 22:23:00     Digital Fed Credit UNI, 220 Donald Lynch Blvd.,
                                                                                                            Marlborough, MA 01752-4708
29856581              + EDI: PHINGENESIS
                                                                                   Jul 29 2022 02:18:00     FEB Destiny/GF, 15220 NW Greenbrier Pkwy.,
                                                                                                            Beaverton, OR 97006-5744
29856582              + EDI: BLUESTEM
                                                                                   Jul 29 2022 02:18:00     Fetti Fingerhut/Webban, 13300 Pioneer Trl, Eden
                                                                                                            Prairie, MN 55347-4120
29856583              + EDI: AMINFOFP.COM
                                                                                   Jul 29 2022 02:18:00     First Premier Bank, 601 S Minnesota Ave., Sioux
                                                                                                            Falls, SD 57104-4868
29856584              ^ MEBN
                                                                                   Jul 28 2022 22:14:17     Geico, 1 Geico Center, Macon, GA 31296-0001
29856585              + Email/Text: bankruptcy@kikoff.com
                                                                                   Jul 28 2022 22:23:00     Kikoff Lending LLC, 75 Broadway Ste 226, San
                                                                                                            Francisco, CA 94111-1458
29856586                 Email/Text: customerservice@launchservicing.com
                                                                                   Jul 28 2022 22:22:00     Launch Servicing LLC, 2300 E 54th St N, Sioux
                                                                                                            Falls, SD 57104
29856652              + Email/Text: bankruptcydpt@mcmcg.com
                                                                                   Jul 28 2022 22:23:00     Midland Credit Mgmt, Po Box 939069, San Diego,
                                                                                                            CA 92193-9069
29856564              + EDI: MINNDEPREV.COM
                                                                                   Jul 29 2022 02:18:00     Minnesota Department of Revenue, 600 N. Robert
                                                                                                            Street, Mail Station 0010, Saint Paul, MN
                                                                                                            55145-0001
29856642              + EDI: NFCU.COM
                                                                                   Jul 29 2022 02:18:00     Navy Federal CR Union, Po Box 3700, Merrifield,
                                                                                                            VA 22119-3700
29856644              + Email/Text: bkrgeneric@penfed.org
                                                                                   Jul 28 2022 22:22:00     Penfed Credit Union, 2930 Eisenhower Avenue,
                                                                                                            Alexandria, VA 22314-4557
29856645              + Email/Text: ecfbankruptcy@progleasing.com
                                                                                   Jul 28 2022 22:23:00     Progressive Leasing, 256 West Data Drive,
                                                                                                            Draper, UT 84020-2315
29856656                 EDI: AISTMBL.COM
                                                                                   Jul 29 2022 02:18:00     T Mobile USA, POB 53410, Bellevue WA
                                                                                                            98015-3410
29856646              + EDI: PHINGENESIS
                                                                                   Jul 29 2022 02:18:00     Tbom/Milestone, Po Box 4499, Beaverton, OR
                                                                                                            97076-4499
29856648              + Email/Text: Great_Lakes_EBN_Docs@nelnet.net
                                                                                   Jul 28 2022 22:23:00     US Dept of Ed/Glelsi, 2401 International Ln,
                                                                                                            Madison, WI 53704-3121
29856649              ^ MEBN
                                                                                   Jul 28 2022 22:13:54     Utility Self-Reported, Po Box 4500, Allen, TX
                                                                                                            75013-1311
29856657              + EDI: VERIZONCOMB.COM
                                                                                   Jul 29 2022 02:18:00     Verizon Wireless, One Verizon Way, Bernards, NJ
                                                                                                            07920-1097

TOTAL: 31


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE
           Case 22-08415              Doc 11        Filed 07/30/22 Entered 07/30/22 23:10:05                                 Desc Imaged
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District/off: 0752-1                                              User: admin                                                            Page 3 of 3
Date Rcvd: Jul 28, 2022                                           Form ID: 309A                                                        Total Noticed: 42

                                                  NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 30, 2022                                        Signature:          /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 28, 2022 at the address(es) listed below:
Name                             Email Address
Gregg Szilagyi
                                 gs@tailserv.com gszilagyi@ecf.axosfs.com;gszilagyi@epiqtrustee.com

Patrick S Layng
                                 USTPRegion11.ES.ECF@usdoj.gov


TOTAL: 2
